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              KEARNEY MCWILLIAMS & DAVIS
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                                                      October 11, 2023

The New Faces of Pride Houston                                                     via email: lhood@mayerllp.com;
Attn.: Lori Hood, registered agent                                                        bryancotton74@gmail.com
2900 N. Loop W., Ste. 500                                                  via USPS Priority to Registered Agent only
Houston, TX 77092



Re:       CEASE AND DESIST




Dear The New Faces of Pride Houston:
We represent Pride Houston, Inc, and we are contacting you about usage of our client’s registered
trademarks, which are shown below for your convenience:

                                        PRIDE HOUSTON CELEBRATION
                                                       QUEER.ISH
                                   HOUSTON LGBT PRIDE CELEBRATION
                                           HOUSTON PRIDE FESTIVAL
                                            HOUSTON PRIDE PARADE




                                                   PRIDE HOUSTON

Although no warning is necessary, we reach out to you as a courtesy to request that you cease and desist
immediately from use of identical and/or similar marks likely to cause confusion, or to cause mistake, or to
deceive as to the affiliation, connection, or association with our client, or as to the origin, sponsorship, or
approval of your services with our client’s. Over many years, our client has invested substantial time,
energy, and resources in building these marks.




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Undoubtedly and comparatively, our client is the senior user of the marks in the table that are associated
with services your new organization is starting to offer or will in the future. To exemplify, and without
limitation, your problematic uses include The New Faces of Pride Houston as well as Pride Houston and
Houston Pride Parade + Festival. On your Facebook page, you even use #PrideHouston. We recognize an
organization’s fair desire to define itself and its goods/services, but your new organization unfairly leans
on and uses my client’s property.

As a result, your junior use is a serious matter which we wish to resolve amicably and quickly. To that end,
we simply request that you immediately:

    (1) cease all use and plans to use marks that are identical or confusingly similar to our client’s marks
        in the table; and
    (2) provide us with written confirmation, such as emailing me, of your compliance with (1) by Friday,
        October 20, 2022 at 6:00 p.m. Central Time.

Else, we understand that you have no intention to cease, and, instead, to reap where you have not sewn. As
a result, we shall recommend to our client, who reserves the right to pursue any and all remedies, to proceed
with action. Example causes of action may include: (1) trademark infringement; (2) trademark dilution;
(3) passing off; (4) tortious interference with contracts; (5) tortious interference with business relationships;
(6) injury to business reputation; (7) fraud; and (8) unfair competition and other torts. In addition to
preliminary and permanent injunctive relief, awards of damages, exemplary damages, attorney fees, and
court costs are possible, especially for intentional behavior. If suit is begun, then we shall not settle for
anything less than a full accounting of damages, including exemplary damages, attorney fees, and costs.
Satisfaction of any judgment upon suit, which will be in our favor, may come from the sale, lien, acquisition,
garnishment, and/or other encumbrances of your personal assets and those in privity with your actions.
Thus, please take this warning with great heed.

Please feel free to reach me on this matter. Thank you.


Very truly yours,

Erik J. Osterrieder
Erik J. Osterrieder




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